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                      UNITED STATES COURT OF APPEALS
                           FOR THE FIRST CIRCUIT


                                      No. 10-1959


                     IN RE: PHARMACEUTICAL INDUSTRY
                   AVERAGE WHOLESALE PRICE LITIGATION


                      CORRECTED BRIEF OF APPELLANT
                      DONALD E. HAVILAND, JR., ESQUIRE


                Appeal from the June 22, 2010 Order of the District Court
                 barring Appellant from ever “serv(ing) as class counsel
                 in any federal litigation involving challenges to AWP.”




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    I.    STATEMENT OF JURISDICTION

          The district court had subject matter jurisdiction over this action pursuant to

    28 U.S.C. §1332(a) because this case was filed before February 18, 2005, the

    amount in controversy exceeds $75,000.00, and there is diversity between Plaintiffs

    and Defendants.

          This Court has jurisdiction over this appeal pursuant to 28 U.S.C.

    §1292(a)(1), which provides an interlocutory appeal as of right from an order

    granting an injunction.     Whether an injunction falls within the permissible

    exceptions of the Anti-Injunction Act, 28 U.S.C. § 2283, is a question of law

    reviewed de novo, and, assuming that the injunction is permissible under the

    Anti-Injunction Act as a matter of law, this Court reviews orders of the District

    Court granting or denying an injunction for abuse of discretion. See Retirement

    Systems of Alabama v. J.P. Morgan Chase & Co., 386 F.3d 419, 425 (2d Cir. 2004);

    Great Earth Companies, Inc. v. Simons, 288 F.3d 878, 893 (6th Cir. 2002);

    California v. Randtron, 284 F.3d 969, 974 (9th Cir. 2002).

          The subject Order barring Appellant from ever “serv(ing) as class counsel in

    any federal litigation involving challenges to AWP” was entered by the district court

    sua sponte on June 22, 2010. A timely Notice of Appeal was filed July 22, 2010.




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           On September 1, 2010, Appellee counsel wrote a letter to this Court’s Case

    Manager, challenging this Court’s jurisdiction over this appeal and requesting the

    issuance of a show cause order. Appellee counsel then filed “Class

    Plaintiffs-Appellees Motion to Dismiss Appeal” on September 23, 2010, interposing

    the same jurisdictional challenge.        On October 4, 2010, Appellant filed

    “Appellant’s Opposition to Class Plaintiffs-Appellees’ Motion to Dismiss Appeal”.

    By Order dated November 4, 2010, this Court denied the Motion to Dismiss without

    prejudice, and directed the parties “to brief the jurisdictional issue along with the

    merits” as part of this appeal. The “jurisdictional issue” is addressed herein.

    II.    ISSUES PRESENTED FOR REVIEW

    1.     Did the district court err by issuing an injunction sua sponte, with no

    reasonable limitation in duration, breadth or scope, barring parties who never

    appeared before the court from pursuing any future class action litigation involving

    “challenges to AWP”, in state or federal court, and their attorney from representing

    any party in the future as “class counsel” in a case involving “challenges to AWP”?

    2.     Did the district court violate the due process rights of parties who never

    appeared before the court and their attorney representing them only in their capacity

    of executors of an estate of deceased clients by issuing a sweeping injunction

    without notice, a hearing or other reasonable opportunity to be heard?



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    3.     Does this Court have jurisdiction over an appeal from an Order of a district

    court issued sua sponte, and without notice, a hearing or other reasonable

    opportunity to be heard, prospectively barring individual parties and the attorney for

    an estate from ever pursuing future litigation involving a broad subject matter over

    which the court has certain limited authority by prior Order of the Judicial Panel on

    Multi-District Litigation?

    III.   STATEMENT OF THE CASE

           This litigation was commenced by Appellee-Counsel in 2001 against several

    prescription drug manufacturers and alleges that defendants unlawfully inflated the

    AWP upon which drug reimbursements were made in the Medicare Program.

    This inflation caused consumers and TPPs to pay more for the Subject Drugs. As

    discussed more below, Appellant, Donald E. Haviland, Jr., became involved in this

    litigation when several of Appellant's clients agreed to intervene in the action

    following the District Court's refusal to certify a nationwide consumer class of

    Medicare beneficiaries on grounds of adequacy of representation. Importantly,

    Appellant’s clients all agreed to intervene in this action and serve as named class

    representatives on the express condition that their individual counsel, Appellant,

    would continue to serve as their personal legal counsel and counsel to the class going

    forward. APP. 686-698.

           Two of Appellant's clients, Mr. Larry Young and Ms. Therese Shepley,

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    agreed to serve as named class representatives of the Johnson & Johnson sub-class,

    which was later certified by the District Court. A 20-day bench trial involving two

    certified classes of TPPs and consumers in Massachusetts was held in 2006 against,

    inter alia, Johnson & Johnson, resulting in a verdict in favor of the J&J Defendants.

    Inexplicably, Appellee-Counsel failed to challenge Johnson & Johnson's argument

    that the verdict should be extended to bar the consumer class claims that had not

    been tried. Appellant, on behalf of Mr. Young and Mrs. Shepley, alone opposed

    Johnson & Johnson’s effort to have a Rule 54(b) judgment entered against

    consumers. APP. 677. Subsequently, the district court agreed with Johnson &

    Johnson that the nationwide consumer class claims should be dismissed with

    prejudice (on grounds of the Class 2/3 trial verdict). Over Mr. Young’s and Mrs.

    Shepley’s objections, the district court entered final judgment under Rule 54(b) on

    November 20, 2007. See Dkt 4880-2.

           Because the judgment dismissed with prejudice the claims of the Johnson &

    Johnson consumer Sub-Class, including the claims of Mr. Young and Mrs. Shepley,

    a timely appeal should have been taken by Appellee-Counsel, as counsel to the

    certified Sub-Class of consumers of Johnson & Johnson drugs. Inexplicably, it was

    not. Instead, at the end of the appeal period and despite his withdrawal as class

    counsel, on December 19, 2007, Appellant was forced to file a Notice of Appeal on

    behalf of Mr. Young and Mrs. Shepley to preserve at least their individual right to

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    challenge the dismissal of their claims. APP. 872. The Notice of Appeal was

    signed by Appellant in his capacity as individual counsel for Mr. Young and Mrs.

    Shepley, as he had withdrawn as class counsel on October 1, 2007. APP. 806.

           As discussed more fully in the Statement of Facts below,          despite not

    pursuing the appeal initially, Appellee-Counsel then usurped the appeal from

    Appellant by filing a Motion to Substitute Counsel on Appeal, seeking “to substitute

    themselves as counsel for class representatives Larry Young and Therese Shepley on

    the appeal.” The appeal then proceeded with Appellee-Counsel representing Mr.

    Young, Mrs. Shepley, and the Class, thanks to the timely Notice of Appeal filed by

    Appellant on behalf of his individual clients. This appeal resulted in this Court

    reversing the decision of the district court dismissing the claims against the

    Johnson& Johnson Defendants.        In re AWP, 582 F. 3d at 237.

           Upon remand, the district court stated at a hearing to address this Court’s

    Order vacating the judgment in favor of Johnson & Johnson that it never intended to

    dismiss Mr. Young’s case and Mrs. Shepley’s case with prejudice, and it may have

    been “negligent” in simply relying upon language submitted by Appellee-Counsel.

    Oct. 8, 2009 Tr. at 7:5-14. After Mrs. Shepley passed away, Appellant's individual

    clients realized they would fair no better in the district court on remand, in terms of

    having their voices heard. Appellant filed a Notice of Suggestion of Death as to

    Mrs. Shepley and a Motion to Withdraw as to Mr. Young, consistent with his clients'

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    wishes. That Motion was granted by electronic order. That Order also

    inexplicably barred Appellant from ever “serv(ing) as class counsel in any federal

    litigation involving challenges to AWP” sua sponte on June 22, 2010. A timely

    Notice of Appeal was filed July 22, 2010.

    IV.    STATEMENT OF FACTS

           A. MDL 1456

           As this Court has observed on the several occasions it has had to address

    issues in this “sprawling litigation”,1 this litigation was commenced by

    Appellee-Counsel in 2001 against several prescription drug manufacturers. Due to

    the “nearly one hundred cases involving AWP brought against more than forty

    pharmaceutical defendants”, many of which were filed in district courts around the

    country, the Judicial Panel on Multi-District Litigation (“JPML”) ordered the cases

    against these drug companies consolidated for pretrial purposes. In re Immunex

    Corp. Average Wholesale Price Litig., 201 F.Supp. 2d 1378 (JPML 2002). 2 From


    1
     In re Pharmaceutical Industry Average Wholesale Price Litig., (“In re AWP”) 582
    F.3d 156, 161 (1st Cir. 2009).
    2
      The JPML expressly found that “all actions in these four dockets involve common
    questions of fact concerning whether (either singly or as part of a conspiracy) the
    pharmaceutical defendants engaged in fraudulent marketing, sales and/or billing
    schemes by unlawfully inflating the average wholesale price of their Medicare
    covered prescription drugs in order to increase the sales of these drugs to health care
    professionals and thereby boost the pharmaceutical companies' profits.
    Centralization of all actions under Section 1407 in the District of Massachusetts will
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    the formation of MDL 1456, the plaintiffs consisted of insurance companies and

    other third party payors (“TPPs”), represented by Appellee-Counsel, and consumer

    advocacy members of the “Prescription Action Litigation” (“PAL”) organization,

    founded and represented by Appellee-Counsel. None of the original plaintiffs were

    consumers. APP. 1412.

                 1. Class Action Proceedings in MDL 1456

           In late 2004/early 2005, the TPPs and PAL member plaintiffs moved for

    certification of a nationwide class against the Track I defendants. 3 Dkt. Nos. 1026,

    1234. These plaintiffs proposed to include consumers in the nationwide class.

    However, the district court questioned whether TPPs could adequately represent

    consumers, stating that there is a “possible conflict between TPPs and Medicare Part

    B beneficiaries with respect to possible settlements, given the different economic

    interests of the groups.” In re AWP, 230 F.R.D. 61, 80 (D.Mass. 2005). The court

    also held that the PAL member plaintiffs had no standing to represent consumer



    serve the convenience of the parties and witnesses and promote the just and efficient
    conduct of this litigation.” Id. at 1380.
    3
      As this Court is aware, by Order of the District Court, the case was divided in to
    two tracks for litigation purposes. Track I involved five (5) defendants, including
    the Johnson & Johnson defendants. In re AWP, 582 F.3d at 161 (describing
    background and procedural history of litigation); In re AWP, 582 F.3d 231 (1st Cir.
    2009)(addressing an appeal taken by Mr. Young and Mrs. Shepley from the
    judgment entered in favor of the Johnson & Johnson defendants).

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    plaintiffs for money damages. For these reasons, the district court denied the

    plaintiffs’ motion for class certification of a nationwide consumer class of Medicare

    beneficiaries, but certified a Massachusetts-only consumer class outside the

    Medicare context. The court did, however, leave open the possibility of certifying a

    nationwide consumer class of Medicare beneficiaries, if adequate consumer class

    representatives could be found, based on the representation of Appellee-Counsel

    that they had consumer clients “waiting in the wings”. Id. at 81.

           Appellee-Counsel had no such clients at the time. APP. 1412. Instead, they

    were aware of Appellant’s representation of individual consumer, cancer patients in

    related litigation pending in the same district court involving the prescription drug

    Lupron, In re Lupron Marketing & Sales Practices Litig., MDL 1430 (“In re

    Lupron”), 180 F.Supp.2d 1376 (JPML 2001). APP. 686-698 (sworn Affidavits

    filed by Appellants’ clients attesting to their involvement in In re Lupron). Because

    many of Appellant’s clients had purchased cancer drugs at issue in MDL 1456,

    Appellee-Counsel asked the Appellant if he would inquire of his clients about their

    willingness to serve as named consumer class representatives for the nationwide

    consumer class in In re AWP. APP. 1421. Appellant agreed to make such inquiry

    and, as a result, several of Appellant’s clients agreed to intervene in the action.

    Two of these clients, Mr. Larry Young and Mr. James Shepley, had purchased the



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    drugs manufactured by defendant Johnson & Johnson and agreed to serve as named

    class representatives of the Johnson & Johnson sub-class. 4

           Importantly, Appellant’s clients all agreed to intervene in this action and serve

    as named class representatives on the express condition that their individual counsel,

    Appellant, would continue to serve as their personal legal counsel and counsel to the

    class going forward. APP. 686-698. Appellee-Counsel understood this condition

    of the clients’ intervention, and agreed to seek the appointment of Appellant

    Co-Lead Counsel in the case. Appellee-Counsel and Appellant also agreed to work

    cooperatively with one another to coordinate their efforts in AWP litigation pending

    around the country in state and federal court. See Dkt. 4723 [Ex. F to the

    Declaration of DEH in support of HLF’s Reply Memorandum Concerning the

    Appointment of Class Counsel for the Track 2 Classes Pursuant to Fed.R.Civ.Proc.

    23(g), and Class Counsel’s Submission Dated September 18, 2007) (litigation

    agreement between Kline & Specter and the MDL Co-Leads). 5 Indeed,



    4 Mr. Shepley later passed away as a result of the cancer that required his
    prescription drug treatments. His widow, Therese Shepley, then agreed to continue
    as class representative on behalf of the Shepley estate. After Mrs. Shepley passed
    away in late 2009, a Suggestion of Death on the Record was filed pursuant to Federal
    Rule 25(a) on March 26, 2010. APP. 1511-1512. Although it was not necessary to
    do so under the Rules, the executors of Mrs. Shepley’s estate then sought to formally
    withdraw the estate from the case as a class representative. APP. 1633-1635.

    5 The aforesaid litigation agreement plainly envisioned a coordinated strategy
    among all the Co-Lead Counsel involving all of their AWP cases pending in state
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    Appellee-Counsel urged in the district court that such coordinated effort ultimately

    “benefitted the certified class in this case.”6 APP. 1466.

           On October 17, 2005, a Third Amended Master Consolidated Class Action

    Complaint (“TAMCC”) was filed, with Appellant’s clients included as named class

    representatives of the Track I consumer sub-class, and Appellant listed as Co-Lead

    Counsel for the plaintiff class. APP. 521-834. Appellee-Counsel then renewed

    their motion for certification of nationwide sub-classes of consumers against each of

    the Track I defendants, this time proffering Appellant’s clients as proposed

    consumer class representatives. On January 30, 2006, the district court granted the

    motion and certified nationwide sub-classes of consumer Medicare beneficiaries



    court. At the time of the agreement, Kline & Specter had three state court cases – in
    New Jersey, Pennsylvania and Arizona – while the other Co-Leads had cases in
    Connecticut, Montana, and Nevada, in addition to MDL 1456. The New Jersey and
    Arizona cases were class actions under state law, while the other state actions were
    representative actions brought on behalf of the State Attorneys General of the
    respective States. Appellee-Counsel do not contest that this coordinated strategy
    existed. APP. 632 (“we agreed to add Kline & Specter as co-lead to bring their
    case(s) within the umbrella of the MDL”).

    6 In the cited pleading (involving fee distribution), Appellee-Counsel urged that
    “Kline & Specter worked on several other, related cases, all of which were
    eventually consolidated with MDL 1456, and all of which benefitted the class in this
    case.” APP. 1466. Among these “other, related cases” was a New Jersey state
    court case “involving challenges to AWP”, which had been removed to federal court
    and transferred to MDL 1456, but was remanded subsequently. Id. at 36 (listing 4
    AWP cases for which Kline & Specter is seeking attorney’s fees and costs, including
    a “NJ AWP” case); see In re AWP, 431 F.Supp. 2d 109 (D.Mass. 2006)(remanding
    the NJ AWP case back to state court).
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    with claims against the Track I defendants, including Johnson & Johnson. In re

    AWP, 233 F.R.D. 229, 230-31 (D.Mass. 2006)(“Class Certification Order”). Mr.

    Young and Mrs. Shepley were certified by the trial court as the named class

    representatives for the Class 1 class of consumers of J&J Defendant drugs. Id. at

    230. The court’s Class Certification Order also appointed Appellant’s law firm at

    the time, Kline & Specter, Messrs. Young and Shepley were certified as a

    consumer class representative of the Johnson & Johnson Sub-Class, and Appellant’s

    law firm, Kline & Specter, was appointed as one (1) of five (5) Co-Lead Counsel for

    plaintiffs. Id. When Appellant left Kline & Specter in the fall of 2006, the

    consumer class representatives continued to want their personal counsel to represent

    them in this litigation. Accordingly, by agreement among all Co-Lead Counsel,

    Kline & Specter filed a Notice of Withdrawal from the case and Appellant’s new law

    firm, The Haviland Law Firm, L.L.C. (“HLF”), entered its appearance as Co-Lead

    Counsel in September 2006. APP. 1501. This change of Co-Lead Counsel firms

    went unremarked by the district court.

           The relationship between Appellant and the other Co-Lead counsel began to

    deteriorate in early 2007 when a “rift between class counsel” 7 formed after



    7 See Electronic Order dated July 2, 2007 (wherein the district court stated: “The
    Court will consider any objections [to the AstraZeneca settlement] at the fairness
    hearing. I am concerned about the rift between class counsel. In particular, I am
    concerned about the allegation of Mr. Haviland that he never agreed to the
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    Appellee-Counsel sought to settle the consumer Class 1 claims against AstraZeneca

    without the approval, and over the objections, of one the named plaintiffs, M. Joyce

    Howe, a client of Appellant. Mrs. Howe objected, inter alia, because the proposed

    settlement negotiated by Appellee-Counsel guaranteed a cy pres distribution of

    settlements funds to non-class members, like Appellee-Counsel’s client, the PAL

    organization. As a result of Mrs. Howe’s objections to the amount of the cy pres

    distribution, the district court ordered that the amount of the cy pres be should be

    reduced. See In re AWP, 588 F.3d 24, 31(1st Cir. Nov. 19, 2009)(noting that “[t]he

    district judge agreed with [Mrs.] Howe that more money should go to the plaintiffs

    rather than to the cy pres fund. She instructed the parties that the settlement should

    pay treble damages to those plaintiffs who had the strongest claims because they

    obtained Zoladex in the ‘heartland period’ and should correspondingly reduce the cy

    pres fund.”)(emphasis in original).




    settlement (see Paragraph 5), which class counsel vehemently disputes. If Mr.
    Haviland wants to press the point, he should file an affidavit.”). At the district
    court’s direction, Appellant filed an Affidavit under seal detailing his client’s
    concerns about the proposed settlement, including the fact that Mrs. Howe did not
    approve of the settlement, as had been misrepresented by Appellee-Counsel in
    papers filed of record. APP. 694 (wherein Mrs. Howe attested, “I authorized Mr.
    Haviland to file such objection to ensure that the Court was aware of the fact that I
    did not consent to the settlement and the reasons for my disagreement.”); see also,
    August 24, 2007 Declaration of Donald E. Haviland, Jr. in Response to Court
    Directive Concerning the AstraZeneca Settlements (filed under seal in the district
    court and setting forth Mrs. Howe objections).
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           Appellant’s clients became concerned that Appellee-Counsel were not acting

    in their best interests, or the best interests of the consumer class, as opposed to the

    TPP class and the PAL and other association plaintiffs with whom Appellee-

    Counsel had direct attorney-client relationships. APP. 686-698. The named class

    representatives of the Johnson & Johnson Sub-Class of consumers had become

    particularly concerned about the manner in which the case had been tried against

    Johnson & Johnson in late 2006, resulting in a verdict in favor of the defendant.

    The adverse verdict was one thing; but the failure on the part of Appellee-Counsel to

    challenge Johnson & Johnson’s argument that the verdict should be extended to bar

    the consumer class claims that had not been tried was quite another. Appellant, on

    behalf of Mr. Young and Mrs. Shepley, alone opposed Johnson & Johnson’s effort

    to have a Rule 54(b) judgment entered against consumers. APP. 677. 8

           Throughout the summer of 2007, Appellant struggled in the district court to

    represent the interests of his individual clients and the consumer class they had been

    certified to represent. See generally, APP. 699, 740 and 813. Repeatedly,

    Appellee-Counsel opposed his clients or acted without their knowledge or consent,

    8 In his sworn Affidavit filed in August 2007, Mr. Young attested as follows: “I am
    especially troubled to learn from Mr. Haviland that my case against Johnson &
    Johnson for the Procrit my wife took may not be allowed to proceed as a result of the
    way the case on behalf of the insurance companies in the Class was litigated against
    Johnson & Johnson. I trust that Mr. Haviland will press my case against the drug
    company, including any appeal that may be necessary, to ensure that the unlawful
    conduct of Johnson & Johnson does not go unpunished.”)
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    as in the case of the settlements reached with AstraZeneca and Bristol-Myers Squibb

    (“BMS”). 9 Because Appellee-counsel continued to act without the knowledge or

    consent of Appellant’s clients and continued to make misleading (and even false

    statements) about Appellant and his clients in papers filed in the district court, in

    accordance with his client’s wishes, Appellant withdrew as class counsel on October

    1, 2007. APP. 806 10; APP. 686-698.

                 2. The Case Against Johnson & Johnson, Appeal and Remand.




    9 While the district court was considering preliminary approval of the proposed
    settlement with AstraZeneca in light of Mrs. Howe’s objections to the cy pres set
    aside, Appellee-Counsel reached a separate proposed settlement with BMS. The
    court-certified named plaintiff of the BMS Sub-Class, Reverend David Aaronson, a
    client of Appellant, had expressly advised Appellee-Counsel through Appellant that
    he did not consent to the negotiation of any settlement that contained similar terms to
    the objectionable terms in the AstraZeneca settlement. Nevertheless, despite this
    express admonition from the lone named consumer class representative, Appellee-
    Counsel proceeded to settle with BMS on terms it did not disclose to Appellant or
    Reverend Aaronson. APP. 831-833. In doing so, Appellee-Counsel ignored the
    express admonition of the district court to “bring Mr. Haviland in the loop” on the
    BMS settlement. “[A]s long as he’s still lead counsel, I think you have to let him
    know what’s happening.” July 3, 2007 Tr. 46:8-10, 22-24.

    10 The Notice of Withdrawal explained, “The Haviland Law Firm, LLC hereby
    withdraws as class counsel in this action in view of the standing of most of its clients
    to represent any consumer class in Track 2 being mooted, the irreconcilable conflict
    that has arisen with other class counsel, and for the additional reasons set forth in the
    Reply Memorandum Concerning the Appointment of Class Counsel for the Track 2
    Classes and Class Counsel’s Submission Dated September 18, 2007, the Declaration
    of Donald E. Haviland, Jr., in support thereof and exhibits thereto, filed
    contemporaneously herewith.” APP. 806.
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                 The district court subsequently agreed with Johnson & Johnson that the

    nationwide consumer class claims should be dismissed with prejudice (on grounds

    of the Class 2/3 trial verdict). Over Mr. Young’s and Mrs. Shepley’s objections, the

    district court entered final judgment under Rule 54(b) on November 20, 2007. See

    Dkt 4880-2. Because the judgment dismissed with prejudice the claims of the

    Johnson & Johnson consumer Sub-Class, including the claims of Mr. Young and

    Mrs. Shepley, a timely appeal should have been taken by Appellee-Counsel, as

    counsel to the certified Sub-Class of consumers of Johnson & Johnson drugs.

    Inexplicably, it was not. Instead, at the end of the appeal period and despite his

    withdrawal as class counsel, on December 19, 2007, Appellant was forced to file a

    Notice of Appeal on behalf of Mr. Young and Mrs. Shepley to preserve at least their

    individual right to challenge the dismissal of their claims. APP. 872. The Notice

    of Appeal was signed by Appellant in his capacity as individual counsel for Mr.

    Young and Mrs. Shepley, as he had withdrawn as class counsel on October 1, 2007.

    APP. 806. The Johnson & Johnson defendants filed a Notice of Cross-Appeal,

    specifically “preserv(ing) their right to contest the propriety and validity of the

    appeal filed by Larry Young and Therese Shepley.” APP. 1000.

           Three months after Appellant had withdrawn as class counsel, the district

    court issued an order, sua sponte, disqualifying Appellant as class counsel. Dkt.

    No. 4972. The disqualification order was entered without prior notice, a hearing or

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    opportunity to be heard, despite Appellant’s repeated requests for an evidentiary

    hearing should the court choose to determine the counsel “best able to represent the

    class” under Rule 23(g). APP. 641, 706.

           Immediately thereafter, Johnson & Johnson sought to dismiss the appeal by

    Mr. Young and Mrs. Shepley on grounds of the disqualification of Appellant. APP.

    1003. Johnson & Johnson argued, “[a]s a matter of law, only court-appointed class

    counsel may, in consultation with named plaintiffs, prosecute an appeal of a

    judgment adverse to the class.” Id. Indeed, it argued that Appellant’s

    “appointment [as class counsel] may not have been effective under the procedures

    established under Fed. R. Civ. P. 23(g)(2).” Id. at n. 2. Johnson & Johnson then

    urged this Court to dismiss the appeal because “[t]he other class counsel did not sign

    the Notice of Appeal, or otherwise take steps to appeal the judgment in favor of the

    J&J Defendants, apparently based on a determination that an appeal was not in the

    best interests of the class.” Johnson & Johnson claimed on appeal that the class

    counsel status of Appellant was unclear prior to Appellant’s withdrawal in October

    2007 (APP. 1003) , and that it was improper “for a single class to take two

    conflicting positions, as the Class 1 plaintiffs arguably have here.” In re AWP, 582

    F.3d 235 n.3.

           In response to Johnson & Johnson’s argument, this Court observed:



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                    “[t]he Class 1 plaintiffs’ responses [to J&J’s efforts to dismiss their
                    claims with prejudice] appear to have taken two different positions. In
                    one response, filed by Attorney Donald Haviland, Jr. on behalf of the
                    ‘Class 1 and Class 3 Consumers,’ the Class 1 plaintiffs argued that they
                    entry of judgment against them would ‘unfairly and inappropriately
                    limit’ their right ‘to adjudicate their claims fully.’ A separate, later
                    filing by the other attorneys representing the plaintiffs, including Mr.
                    Berman, stated that the ‘[p]laintiffs … neither consent to, nor oppose”
                    the requested relief, but nonetheless argued, inter alia, that the Class a
                    plaintiffs’ claims had never been adjudicated….”

    Id. However, because “J&J did not press this point at argument or in its brief,”

    this Court determined that it “need not explore” the issue of “the potential to create

    unusual, even novel, difficulties” of a single class taking conflicting positions. Id.

    at n.3.

              From the standpoint of the plaintiffs, Mr. Young and Mrs. Shepley, however,

    there was nothing “conflicting” about their position: they timely objected to Johnson

    & Johnson’s effort to have their claims dismissed with prejudice. They simply

    could not get Appellee-Counsel to listen to their purported clients and do the right

    thing. Appellee-Counsel were fully aware of this complaint. APP. 1541.

    Remarkably, Appellee-Counsel seized upon the occasion of the district court’s sua

    sponte disqualification order to displace Appellant’s representation of his clients on

    the appeal. They strangely filed a Motion to Substitute Counsel on Appeal, seeking

    “to substitute themselves as counsel for class representatives Larry Young and

    Therese Shepley on the appeal”, along with a separate “Representation Statement”


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    that limited their stated representation to the “Certified Classes”. Compare APP.

    1065-1069, with 1070-1075. However, they made clear that they believed “[t]he

    views of class representatives do not trump those of class counsel, who owe a duty to

    the class as a whole.” APP. 1067.

           Were it not for the views of Mr. Young and Mrs. Shepley “trump(ing)” those

    of Appellee class counsel in this case, this Court would not have had occasion to

    reverse the decision of the district court dismissing the class claims against the

    Johnson & Johnson defendants, and to remand for further proceedings consistent

    with its Order. 11 In re AWP, 582 F. 3d at 237 (“Because we lack a clear

    understanding of both the scope of the district court's judgment and the reasons for

    the judgment, we will remand to the district court for additional explanation of its

    judgment.”)

           On remand, on October 8, 2009, the district court held a hearing to address

    this Court’s Order vacating the judgment in favor of Johnson & Johnson. Despite

    the parties’ understanding on appeal, the district court remarked at the outset:

    11 Indeed, while Appellee-Counsel argued vehemently in the district court that
    Appellant was never properly approved as lead counsel for the class by the district
    court, e.g., APP. 667 (“Haviland’s behavior here demonstrates … precisely why
    Haviland should not become” a Co-Lead Counsel for the Class), on appeal they
    conveniently abandoned that position in favor of a claim that the “appeal was timely
    filed by attorney Donald Haviland at a time when Mr. Haviland was Class Counsel.”
    APP. 1306. The inconsistent argument ignored the fact that the Notice of Appeal
    was filed by Appellant December 20, 2007, nearly two months after the Notice of
    Withdrawal had been filed by Appellant. Compare APP. 872-873 with APP. 806.
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                 “Well, I had no intent to dismiss it other than for Massachusetts.
                 Let's put it this way: No one was more surprised than I. Maybe the
                 language went in too fast or whatever. But I did intend for
                 Massachusetts. I couldn't have possibly thought through the country
                 because at that point I hadn't gone through all the national laws. So I
                 did it under 93A was my intent. And if I was negligent in how I
                 phrased it, I think I just took [Appellee-counsel’s] wording, and I just
                 didn't intend that, I didn't write on it. But I did intend it for 93A.
                        *             *            *
                 If I wrote it more broadly, it’s because I took [Appellee-Counsel’s]
                 language, and it wasn’t my intent, all right? So if someone had
                 simply moved for reconsideration, I could have clarified that point on
                 national versus state.
                        *             *            *
                 … I didn’t think I was doing the whole thing. Now, maybe I was tired
                 at the end and didn’t notice what the language said, and no one asked
                 me to clarify, so, okay, I wasn’t planning on doing it for the country.”

    Oct. 8, 2009 Tr. at 7:5-14; 7:25-8:4; 13:23-14:2 (emphasis added).

           Upon hearing the district court state that it never intended to dismiss Mr.

    Young’s case and Mrs. Shepley’s case with prejudice, that it may have been

    “negligent” in simply relying upon language submitted by Appellee-Counsel, and

    that it apparently completely ignored the timely submission made by Mr. Young and

    Mrs. Shepley raising the very issue the court said it needed to have raised in order to

    “clarif(y) that point” on reconsideration, Appellant realized that his individual

    clients would fair no better in the district court on remand, in terms of having their

    voices heard. What does not appear clearly in the record is the discussion had

    between Appellee-Counsel and Appellant wherein it was made clear that the clients

    did not want to be represented by Appellee’s any further, and that they wanted to

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    remove themselves from the litigation. Appellee’s said they were going to settle

    the case, and asked for a period of time to do so. APP. 1540-1563. Upon failing to

    do so, and after Mrs. Shepley passed, two things happened: (1) a Notice of

    Suggestion of Death was filed as to Mrs. Shepley, and (2) a Motion with Withdraw

    was filed as to Mr. Young.

           B. Other AWP Litigation in Federal and State Court

           The cases consolidated as part of MDL 1456 are not the only cases “involving

    challenges to AWP” that exist. To the contrary, the problem of AWP inflation and

    spread marketing by prescription drug companies made possible by inflated AWPs

    has spawned litigation by various plaintiffs – including consumers, businesses of

    government entities – in state and federal courts throughout the country.

           At the time MDL 1456 was formed, other cases “involving challenges to

    AWP” were pending in both state and federal courts. However, these cases were

    not consolidated as part of MDL 1456. For instance, a separate court in the District

    of Massachusetts was managing a wholly separate multi-district litigation

    “involving challenges to AWP.” See In re Lupron Marketing & Sales Practices

    Litig., MDL 1430 (“In re Lupron”), 180 F.Supp.2d 1376 (JPML 2001). After MDL

    1456 was formed, other class action cases “involving challenges to AWP” were filed

    in federal district court, but they were not consolidated as part of MDL 1456. See,

    e.g, In re AWP, 582 F.3d 156, 160 (noting that AWP claims brought against certain

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    publishers of AWP were part of a wholly separate proceeding in the district court,

    citing Nat'l Ass'n of Chain Drug Stores v. New England Health Benefits Fund, 582

    F.3d 30 (1st Cir. 2009)).

           In addition to these federal actions “involving challenges to AWP”, dozens of

    other AWP cases have been filed in state court. Among these were two class action

    cases that were filed by plaintiffs before MDL 1456 was formed, one in Arizona (the

    “Arizona action”) and the other in New Jersey (the “New Jersey action”).

    Appellant is counsel to the named representative plaintiffs in both cases. Both

    actions were removed to federal court and transferred as part of MDL 1456. But,

    both actions were subsequently remanded by the district court back to state court.

    See In re AWP, 307 F.Supp. 2d 190 (D.Mass. 2004)(remanding Arizona action); In

    re AWP, 431 F.Supp. 2d 109 (D.Mass. 2006)(remanding New Jersey action). 12

           The New Jersey class action is currently proceeding against “non-overlapping

    defendants”, i.e., defendants which are not part of MDL 1456, either because they

    were never sued or because they were dismissed from the proceeding. For

    example, Hoffman La-Roche is a defendant in the New Jersey action, but, for

    12 Despite the district court’s remand of the New Jersey and Arizona actions, it has
    entertained several motions filed by defendants seeking to enjoin the actions. APP.
    807-812, APP. 874-881, APP. 882-993, APP. 994-996, APP. 997-999, APP.
    1033-1035, APP. 1036-1045, APP. 1083-1111, APP. 1133-1135, APP. 1136, APP.
    1137-1305, APP. 1322-1337, APP. 1338-1344, APP. 1345-1348, APP. 1442-1451,
    and APP. 1452-1453.


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    reasons known only to Appellee-Counsel, was not included as a defendant in their

    Amended Consolidated Class Action Complaint filed in 2004. Accordingly,

    Hoffman-LaRoche was dismissed from the MDL by Order dated April 26, 2004.

    APP. 620.

           Several AWP cases also have been filed by State Attorneys General who have

    retained outside counsel to pursue claims on behalf of state Medicaid programs,

    other proprietary programs, and consumers. Appellee-counsel were retained to

    represent the States of Montana, Nevada, Arizona and Connecticut in such actions.

    Appellant was retained to represent the Commonwealth of Pennsylvania in an action

    currently pending in Pennsylvania state court (the “Pennsylvania action”). On

    behalf of Pennsylvania, however, Appellant has had to fight to maintain the

    independence of the Pennsylvania action from MDL 1456.13 In 2010, Appellant

    tried to cases to verdict, one against Bristol-Myers Squibb (resulting in a verdict of



    13 Prior to Appellant’s clients (and Appellant) being invited to join in MDL 1456,
    Appellee-Counsel sought to have the Pennsylvania action (and other Attorney
    General cases) included within the class definition of proposed class in MDL 1456.
    Appellant, on behalf of Pennsylvania, successfully opposed such a sweeping class
    definition. See Dkt. No. 1372 (Mem. of the Attorney General of the
    Commonwealth of Pennsylvania in Opposition to Class Certification, filed February
    8, 2005). Appellant also twice opposed efforts by defendants to have the
    Pennsylvania action removed to federal court and transferred for inclusion as part of
    MDL 1456. See Pennsylvania v. TAP Pharm. Prods., Inc., 415 F.Supp. 2d 516
    (E.D.Pa. 2005); In re AWP, 509 F.Supp. 2d 82 (D.Mass. 2007)(remanding
    Pennsylvania action, along with cases brought by Illinois, Ohio, Mississippi,
    Kentucky, Idaho, and certain New York counties).
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    $27.6 million) and another against the Johnson & Johnson defendants (resulting in a

    verdict, including civil penalties, of nearly $52 million;

    [http://www.attorneygeneral.gov/press.aspx?id=5907;

    http://www.law.com/jsp/article.jsp?id=1202472332498&rss=newswire]).

    V.     SUMMARY OF ARGUMENT

           The instant appeal concerns a prophylactic Order entered June 21, 2010

    barring the executors of the estate of named representative plaintiffs in a class action

    from ever “serv(ing) as class representatives in any proposed class action involving

    AWP” and barring the attorney for the deceased representative plaintiffs from ever

    serving as “class counsel” in any future federal lawsuit “involving challenges to

    AWP”. As such, the district court’s Order constitutes an injunction that should be

    deemed immediately appealable to this Court.

           The subject injunction should be vacated by this Court for several reasons. It

    is submitted that the district court erred in issuing a sweeping injunction barring any

    future involvement in a class action broadly “involving AWP”, in any state or

    federal court, by parties, co-executors of the estate of named representative plaintiffs

    in the action, who never appeared before the court or submitted to the court’s general

    jurisdiction. The court further erred by enjoining the attorney for the subject estate,

    who was asked by the co-executors to abandon the property interest of the estate in

    the litigation and to withdraw the interests of the estate (and thereby the executors

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    charged with administering the estate’s interests) from the lawsuit, from ever

    representing clients as “class counsel” in any future federal litigation “involving

    challenges to AWP”. In so barring the parties and the attorney in response to a

    simple Motion to Withdraw – which was unopposed and was ultimately granted by

    the court – the district court exceeded the bounds of its permissible authority and

    abused its discretion in several respects.

           First, the court lacked both personal over the enjoined parties and subject

    matter jurisdiction over any and all future class actions “involving AWP”. Second,

    in issuing the sweeping injunction against any future class action in state or federal

    court by the parties, and federal court by the attorney, the court failed to follow the

    mandatory requisites under Federal Rule 23, and as compelled by the United States

    Supreme Court, for determination of the adequacy of class plaintiffs and/or class

    counsel in a federal class action litigation. Third, the court failed to accord either

    the enjoined parties or the attorney procedural or substantive due process in issuing a

    prophylactic injunction against future participation in litigation without advance

    notice, a hearing or other opportunity to be heard, or to develop a proper evidentiary

    record for the court’s requisite findings respecting the injunction. Finally, the court

    exceeded the bounds of its judicial authority granted by the Judicial Panel on

    Multi-District Litigation (“JPML”) to administer certain federal claims “involving

    challenges to AWP” concerning certain prescription drug companies. By barring

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    all future class action litigation by the parties and the attorney as to any claim

    “involving AWP”, the court exceeded the scope of the JPML’s Order consolidating

    certain cases, and “tag-along” cases, for pretrial purposes and the limits of 28 U.S.C.

    § 1407.

           For these reasons, it is respectfully submitted that the June 22, 2010 Order of

    the district court should be vacated.

    VI.    ARGUMENT

           A.    The District Court Erred in Enjoining Appellant from Ever
                 “Serv(ing) as Class Counsel in any Federal Litigation Involving
                 Challenges to AWP.”

                 1. The District Court’s Injunction Against the Future Practice of
                    Law Was Overbroad and Beyond the Power of the District
                    Court.

           Before issuing an injunction, a court must satisfy itself that it has the requisite

    jurisdiction to hear the application for the injunction.        See, e.g., Carlough v.

    Amchem Products, Inc., 10 F.3d 189, 198 (3d Cir. 1993) (“neither the

    Anti-Injunction Act, 28 U.S.C. § 2283 (1970), nor the All-Writs Act, 28 U.S.C. §

    1651 (1988), dispels the federal court’s jurisdictional requisite.”). This requires the

    Court to first determine whether it has (1) personal jurisdiction over the parties

    sought to be enjoined, and (2) subject matter jurisdiction over the controversy.

           Turning to the question of personal jurisdiction, while the district court

    arguably possessed the power to enjoin Appellant, who had appeared in the action in

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    2005 on behalf of Mr. Young and Mr. and Mrs. Shepley as individual and

    representative plaintiffs, it lacked the power to issue an injunction affecting the

    rights of the executors of the estate of the Shepleys. See In re General Motors

    Corp. Pick-Up Truck Fuel Tank Products Liability Litig., 134 F.3d 133, 140-41 (3d

    Cir. 1998) (“G.M. Trucks”) (“At the threshold, we must examine our power over the

    parties.”) (citing Carlough). The court’s injunction must be viewed in its totality

    since it related to a singular filing by Appellant on behalf of the Shepleys’ estate.

    Since both Shepleys had passed away, there was no plaintiff to continue the

    litigation. The executors of the Shepleys’ estate had chosen to not pursue the action

    any further, as was their right, either in their individual capacities, as beneficiaries of

    the Shepleys’ estate (who would benefit from any financial recovery in the action),

    or as executors of the Shepleys’ estate (with the power to decide whether the estate

    would continue). Unlike the Shepleys (and their subsequent estate), the executors

    of the Shepley estate never personally appeared in the action. To the contrary, after

    the case was remanded by his Court, and Appellee-Counsel called Appellant to

    determine the willingness of the Shepleys to continue, they were advised by

    Appellant that both Mr. and Mrs. Shepley had passed, and that the executors of their

    estate were not interested in pursuing the action. Although Appellee-Counsel

    pleaded with Appellant to delay any withdrawal of the Shepleys’ claim from the

    action, Appellant had no choice to file the Motion to Withdraw when it was clear

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    that Johnson & Johnson intended to pursue a Motion for Summary Judgment. The

    executors wanted no part of the case, and no part of the defense of the Motion for

    Summary Judgment.

           Because they never appeared in the action, the district court was powerless to

    exercise jurisdiction over them. They never wanted to appear in the action or

    pursue the AWP litigation originally brought by the decedents, the Shepleys. That

    is why they expressly directed Appellant, in his capacity as counsel for the Shepleys

    and their estate, to withdraw the Shepleys’ estate from the litigation. They did this

    precisely to avoid having to appear in the litigation in Boston and to avoid having to

    participate going forward, including having to defend the Motion for Summary

    Judgment or attend a lengthy trial in Boston, thousands of miles away from their

    homes. Simply put, when the Shepleys died, it was the choice of the executors to

    not be forced to pursue the claims originally brought by Mr. and Mrs. Shepley after

    they had passed. They made that choice, and the district court should not have

    sought to punish them for doing so. Apart from the court’s motive for doing so, it

    had no power to bind parties who never appear before it to a perpetual bar order

    preventing them from pursuing litigation in any court involving a particular subject

    matter, AWP.

           The district court’s attempt to exercise personal jurisdiction over the

    executors – not in their capacity as executors of the Shepley estate but in their

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    individual capacity as well -- barring them individually from “serv(ing) as class

    representatives in any proposed class action involving AWP”, should be vacated. If

    the court believed it had the power to bar these persons who never appeared in MDL

    1456 from ever pursuing AWP claims anywhere in the country – including in state

    court – then it erroneously believed it had the power to deny the Motion to Withdraw

    and, in doing so, force the executors to proceed as class representatives. 14 It did

    not. The Motion, while authorized by the executors, was filed on behalf of the

    Shepleys’ estate, not the executors. The district court could only exercise personal

    jurisdiction over the Shepleys, but once they had passed away, so did the court’s

    power to adjudicate their rights, short of some affirmative action on the part of those

    charged with administering the estate to invoke the court’s jurisdiction over the

    estate and them personally.

           Whether the district court’s order is viewed as an injunction (against future

    14 Such an Order, if issued, not only would have implicated the issue of the lack of
    personal jurisdiction, as here, but it would have exposed the limits of the district
    court’s power to issue an injunction under the Anti-Injunction Act. The Anti-
    Injunction Act prohibits a federal court from enjoining state-court proceedings. See
    Garcia v. Bauza-Salas, 862 F.2d 905, 907 (1st Cir. 1998) (citations omitted). The
    Anti-Injunction Act is “an absolute prohibition against enjoining state court
    proceedings, unless the injunction falls within one of three specifically defined
    exceptions.” Atlantic Coastline Rail Co., 398 U.S. at 286; 1975 Salaried
    Retirement Plan v. Nobers, 968 F.2d 401, 405 (3d Cir. 1992). The district court’s
    order enjoining the executors from proceeding in any court contravenes the
    Anti-Injunction Act in the absence of some showing in the record that the court was
    acting properly pursuant to one of the specified exceptions.


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    class action claims involving “challenges to AWP”) or a sanction (as is urged by

    Appellee-Counsel), its impact is the same as it pertains to the executors of the estate

    of the estate of Theresa Shepley. Having never appeared in MDL 1456, the district

    court was powerless to enjoin or sanction them. Further, at best, only one of the

    two co-executors of the estate, Ken Wright, was mentioned in a pleading. APP.

    1633. And, because the named representative plaintiff Therese Shepley had passed

    away, the district court was powerless to order any further involvement by the estate

    upon the filing of a “suggestion of death.”

           Federal Rule 25 provides in pertinent part that:

           If a party dies and the claim is not extinguished, the court may order
           substitution of the proper party. A motion for substitution may be made by
           any party or by the decedent's successor or representative. If the motion is not
           made within 90 days after service of a statement noting the death, the action
           by or against the decedent must be dismissed.

    Fed. R. Civ. P. 25(a)(1). Here, a Suggestion of Death on the Record respecting

    plaintiff Therese Shepley was filed and served on all parties on March 26, 2010.

    APP. 1511-1512. Under Rule 25, a party or decedent’s successor or representative

    could move the court for substitution of an appropriate representative within ninety

    days of the filing of the Suggestion of Death. The ninety-day substitution period

    ran through June 24, 2010. At no time during that ninety-day period did any party

    or person move to substitute. Indeed, the executors of the Shepley estate purposely

    did not move to substitute as they, on behalf of the estate, desired no further

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    involvement in this action.15 Appellee-Counsel chose not to move for substitution of

    the Shepley estate.    Instead, they filed a distinct Motion to Add Class One

    representative for the Johnson & Johnson Defendants. APP. 1599-1602. After

    the expiration of the ninety-day period, no party, including Defendants who clearly

    were aware of the filing of the Suggestion of Death 16, moved the district court for an

    extension of time under Rule 6 for “excusable neglect”. See Fed. R.Civ. P. 6(b)(1).

           The effect of the filing of the Suggestion of Death regarding Mrs. Shepley,

    and the fact that no party moved for an extension of time under Rule 6 for “excusable

    neglect”, is that the district court was required to dismiss Mrs. Shelpey’s cause of

    action. The later-filed Motion to Withdraw was a legal nullity as to the Shepley

    estate, since the action had to be dismissed by operation of law. Thus, the court’s

    imposition of an injunction or sanction against Appellant and the executors of the

    estate of Mrs. Shepley for seeking to withdraw exceed the bounds of the court’s

    legal authority.

           As for subject matter jurisdiction, the district court’s jurisdiction over

    15 Notably, the Supreme Court long ago noted that “[t]he federal law embodied in
    Rule 25(a) has a direct impact on the probate of estates in the state courts. It
    should not be construed to be more disruptive of prompt and orderly probate
    administration in those courts than its language makes necessary.” Anderson v.
    Yungkau, 329 U.S. 482, 486 (1947).

    16 See Parties’ Joint Motion for Case Management Order No. 33 at ¶3, Dkt. No.7105
    (“On the same day, Mr. Haviland filed a Suggestion of Death on the Record
    indicating that Therese Shepley died on October 2, 2009.”)
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    “litigation involving challenges to AWP” is not exclusive. Nobers, 968 F.2d at

    405-406 (“we must first determine whether federal courts have exclusive

    jurisdiction over the claims”). Even where the federal court does have exclusive

    jurisdiction, and a state court is proceeding in violation of federal law, that does not

    itself warrant an injunction:

                 A federal court does not have inherent power to ignore the
                 limitations of 28 U.S.C. §2283 and enjoin state court
                 proceedings merely because those proceedings interfere
                 with a protected federal right or invade an area pre-empted
                 by federal law, even when the interference is
                 unmistakably clear.

    Chick Kam Choo, 486 U.S. at 146.

           As discussed below, the JPML did not vest the district court with exclusive

    jurisdiction over all matters involving AWP. See generally, In re Immunex Corp.

    Average Wholesale Price Litig., 201 F.Supp. 2d 1378. To the contrary, the Panel

    consolidated in MDL 1456 certain cases against prescription drug companies

    involving allegations of consumer fraud and conspiracy. Other cases involving

    other parties and their potential liability for AWP inflation, fraud and conspiracy

    have been left to proceed alone, independent of MDL 1456. Other AWP cases are

    currently proceeding in various state and federal courts throughout the country.

    See, e.g., In re Lupron; FirstDatabank. That the district court does not possess

    exclusive jurisdiction over all cases involving AWP -- even against the defendant


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    drug companies included in MDL 1456 -- is borne at by the district court’s several

    remand orders issued throughout the years. See, e.g., In re AWP, 307 F.Supp.2d

    190 (D.Mass. 2004) (remanding the Arizona action); In re AWP, 431 F.Supp.2d 109

    (D.Mass. 2006) (remanding the New Jersey action); In re AWP, 509 F.Supp.2d

    82 (D.Mass. 2007) (remanding the Pennsylvania action).

           Because the district court lacked personal jurisdiction over all the parties

    subject to its injunction, and lacked personal jurisdiction over “any federal litigation

    involving challenges to AWP”, its injunction was overbroad, extended beyond its

    power and authority, and should be vacated.

                 2. The District Court’s Prospective Ruling, Barring An Attorney
                    from Ever Serving as Class Counsel in Any Future Class Action
                    Litigation Involving AWP, Violated the Express Provisions of
                    Rule 23 Governing Such a Ruling.

           In December 2003, Federal Rule of Civil Procedure 23 was amended in a

    number of significant respects, including the addition of Subdivision 23(g)

    respecting the appointment of class counsel. This substantial change to the federal

    class action rules applied to a district court’s decisions to appoint class counsel in

    any class action case pending in federal court.

           Prior to the 2003 amendments to Rule 23, and the addition of the mandatory

    provisions of Rule 23(g), Rule 23(a)(4) provided that “[o]ne or more member of a

    class may sue or be sued as representative parties on behalf of all only if . . .the


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    representative parties will fairly and adequately represent the interests of the class.”

    The 2003 amendments added Rule 23(g) to make clear that, while the requisites of

    Rule 23(a)(4) still must be satisfied as to the court’s “scrutiny of the proposed class

    representative, . . . this subdivision will guide the court in assessing proposed class

    counsel as part of the certification decision.” See Advisory Committee notes to

    2003 Rule amendments to Rule 23(g)(Emphasis added) (“Class counsel must be

    appointed for all classes, including each subclass that the court certifies to

    represent divergent interests”). In other words, a decision by a district court

    respecting whether an attorney can serve as “class counsel” must be made “as part

    of the certification decision.”

           A fundamental prerequisite of a class action, pursuant to Federal Rule of Civil

    Procedure 23(a)(4), is the finding that the “the representative parties will fairly and

    adequately protect the interests of the class.” F.R.Civ.P. 23(a)(4). That adequacy

    requirement pertains to both the individual class representatives and the

    qualifications of class counsel and, until the 2003 amendments to the Federal Rules,

    served as the sole instrument through which the Court scrutinized the proposed class

    counsel. In 2003, the Advisory Committee adopted Rule 23(g) to “respond[] to the

    reality that the selection and activity of class counsel are often critically important to

    the successful handling of a class action.” Advisory Committee Notes Rule 23,

    2003 Amendments, Subsection (g).

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           Under Rule 23(g), a district court must appoint class counsel pursuant to the

    following factors: “the work counsel has done in identifying or investigating

    potential claims in the action, counsel’s experience in handling class actions, other

    complex litigation and claims of the type asserted in the action, counsel’s knowledge

    of the applicable law, and the resources counsel will commit to representing the

    class.” F.R.Civ.P. 23(g)(c)(i). The court also should “consider any other matter

    pertinent to counsel’s ability to fairly and adequately represent the interests of the

    class.” Fed.R.Civ.P. 23(g)(1)(C)(ii).

           Rule 23(g) requires that “[c]lass counsel must be appointed for all classes,

    including each subclass that the court certifies to represent divergent interests.” Id.

    The rule establishes the procedures and standards to be applied whether there are one

    or more applicants for appointment as class counsel. If there is only one applicant,

    the court may appoint that applicant “only if the applicant is adequate under Rule

    23(g)(1)(B) and (C).” F.R.Civ.P. 23(g)(2)(B). If there are multiple applicants, the

    court must appoint the applicant “best able to represent the interests of the class.”

    Id. The Advisory Committee notes shed further light on this standard, suggesting

    that the court “go beyond scrutinizing the adequacy of counsel and make a

    comparison of the strengths of the various applicants,” specifically providing that an

    “important consideration might be the applicant’s existing attorney-client

    relationship with the proposed class representative.” Id. Consistent with the other

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    prerequisites, applicants for the appointment as class counsel have the burden of

    showing their adequacy.     In re Organogenesis Securities Litigation, 241 F.R.D.

    397, 408 (D.Mass., 2007).

           The appointment of class counsel is of paramount importance to the

    successful resolution of a class action. The importance of such judicial evaluation

    of proposed class counsel was articulated in In re J.P. Morgan Chase Cash Balance

    Litigation, wherein the Court stated that “[a]ppointment of class counsel is an

    extraordinary practice with respect to dictating and limiting the class members'

    control over the attorney-client relationship and thus requires a heightened level of

    scrutiny to ensure that the interests of the class members are adequately represented

    and protected.” 2007 WL 1549121, *10 (S.D.N.Y., Mar. 15, 2007). Accordingly,

    the Federal Rules mandate that a district court conduct an independent review of all

    the applicants seeking appointment as class counsel employing a heightened level of

    scrutiny to ensure that the interests of the class members are adequately represented

    and protected.

           The Supreme Court has admonished courts to pay heightened attention to the

    requirements for class certification at all times. Ortiz, 527 U.S. at 848-49;

    Amchem, 521 U.S. at 620. In the litigation context especially, a district court is

    required to undertake a “rigorous analysis” of the class action requirements to

    determine the propriety of class certification, including the decision to appoint (or

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    deny appointment of) class counsel. See Smilow v. Southwestern Bell Mobile

    Systems, Inc., 323 F.3d 32, 38 (1st Cir. 2003). The district court in this case

    manifestly failed to apply either “heightened attention” or a “rigorous analysis” to

    its decision to bar class counsel status to Appellant perpetually into the future, as

    mandated by the Supreme Court.

           In this case, there was no “class certification decision” at the time the court

    entered its order barring Appellant from ever “serv(ing) as class counsel in any

    federal litigation involving challenges to AWP.” Far from it. As this Court has

    observed, the class involving Mr. Young and the Shepleys had been certified in

    January 2006. In re AWP, 582 F.3d 231 (1st Cir, 2009). Instead, at the time of the

    court’s injunction, two of the dozens of named plaintiffs decided to withdraw as

    plaintiffs from a previously certified class action. One plaintiff, Mr. Young, was

    still living, the other, the Shepleys, had passed. They both directed their personal

    counsel, Appellant, to file appropriate papers withdrawing them as representative

    plaintiffs. Mr. Young did so directly; the Shepleys’ estate did so by its executors.

    Appellant complied with the directive. In response, the district court – for reasons

    known only to the court (due to the lack of a hearing or findings) – chose to allow the

    plaintiffs to withdraw, but on the condition that they could never pursue litigation

    involving AWP anywhere at any time regardless of any future circumstances that

    might affect them or their families. The court also chose to enjoin the plaintiffs’

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    counsel from any future class action representation in federal court “involving

    challenges to AWP”, regardless of the desires of any present or future clients who

    might retain his services for such legal representation.

           While the court’s rationale for its action remains a mystery, its failure to make

    the requisite findings under Rule 23(g), including finding that Appellant would not

    be the “applicant best able” to represent a class of plaintiffs in any hypothetical

    future class action case “involving challenges to AWP”, should be fatal to its order.

    Fed.R.Civ.P. 23(g)(2)(B). The district court’s decision to enter a prophylactic bar

    order preventing an attorney from ever serving as “class counsel” in “any federal

    litigation” that might be brought in any federal court that in any way involves a

    “challenge to AWP” should be deemed void for vagueness, if not overbroad and

    overreaching. Such a determination – divorced from any decision under the

    Rules involving class certification or the appointment of counsel “best able” to

    represent some as-yet-unknown future putative class of persons looking to

    “challenge AWP” -- was improper.

                 3.     The District Court Exceeded the Bounds of its Authority
                        Under 28 U.S.C. § 1407.

           While the Judicial Panel on Multi-District Litigation (“JPML”) vested the

    District Court via MDL 1456 with the power to oversee consolidated federal cases

    involving manipulation by certain drug companies of the “Average Wholesale


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    Prices” (“AWP”) for their prescription drugs, it did not give the court jurisdiction

    over all matters filed, and to be filed in the future, involving AWP. 17   Indeed, this

    Court has twice entertained appeals from other cases involving “challenges to

    AWP”, thereby demonstrating that the district court in MDL 1456 does not have

    exclusive subject matter jurisdiction over “any federal litigation involving

    challenges to AWP” for purposes of its sweeping injunction. See, e.g, In re Lupron

    Marketing & Sales Practices Litig., Docket Nos. 04-2693 and 04-8023 (1st Cir.

    2004); National Ass’n of chain Drug Stores v. New England Carpenters Health

    Benefits Fund, 582 F.3d 30 (1st Cir. 2009)(approving nationwide class action

    settlement of AWP claims against wholesaler and price reporting service).

           17
              Here, the JPML created one MDL to consolidate cases included as part of
    four (4) pending MDLs – 1453, 1454, 1455 and 1456. See In re Immunex Corp.
    Average Wholesale Price Litig., 201 F.Supp. 2d 1378 (JPML 2002). These cases
    all involved claims against certain drug companies for manipulation of the average
    wholesale price (“AWP”) of prescription drugs. The parties before the JPML
    argued variously for a “company-by-company” approach versus an “industry-wide”
    approach to resolution of the pending cases against certain drug companies, but they
    agreed the matter did not involve all claims against all parties, including all drug
    companies. Id. at 1380 (“All defendants oppose inclusion of these actions in MDL
    1430 -In re Lupron Marketing and Sales Practices Litigation, which is pending in
    the District of Massachusetts.”) The JPML ultimately ruled that these cases
    belonged as part of one consolidated proceeding. Id. (“[T]he Panel finds that all
    actions in these four dockets involve common questions of fact concerning whether
    (either singly or as part of a conspiracy) the pharmaceutical defendants engaged in
    fraudulent marketing, sales and/or billing schemes by unlawfully inflating the
    average wholesale price of their Medicare covered prescription drugs in order to
    increase the sales of these drugs to healthcare professionals and thereby boost the
    pharmaceutical companies' profits.”)

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    Furthermore, other cases have been filed around the country involving “challenges

    to AWP” which have not been included as part of MDL 1456, including cases

    wherein the undersigned has been retained to act as class counsel. 18 For this reason,

    the undersigned appealed the district court’s Order to remove the practice bar,

    leaving intact the portion of the Order that granted the relief requested by the clients.

           28 U.S.C. § 1407 provides “[w]hen civil actions involving one or more

    common questions of fact are pending in different districts, such actions may be

    transferred to any district for coordinated or consolidated pretrial proceedings ...

    Such coordinated or consolidated pretrial proceedings shall be conducted by a judge

    or judges to whom such actions are assigned by the judicial panel on multidistrict

    litigation.” Pursuant to that rule, this case was transferred to the District of

    Massachusetts and assigned to the Honorable Patti B. Saris. In re Immunex Corp.

    Average Wholesale Price Litig., 201 F.Supp.2d 1378 (JPML 2002). That transfer

    Order specifically defined those actions that would be transferred for coordinated or
           18
             See, e.g, In re AWP, 307 F.Supp. 2d 190 (D.Mass. 2004)(relating to the
    remand of the Arizona state class action case of Swanston v. TAP Pharmaceutical
    Products Inc., et. al.); In re AWP, 431 F.Supp. 2d 109 (D.Mass. 2006)(relating to
    the remand of the New Jersey state class action case of International Union of
    Operating Engineers, Local No. 68 Welfare Fund v. AstraZeneca PLC, et. al.);
    Commonwealth of Pennsylvania v. TAP Pharmaceutical Products, Inc., 415 F.Supp.
    2d 516 (E.D.Pa. 2005)(remanding the state court case being litigated by the
    undersigned on behalf of the Commonwealth of Pennsylvania); In re AWP, 509
    F.Supp. 2d 82 (D.Mass. 2007(remanding back to state court se cond time the case of
    Com. of Pa. v. TAP).


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    consolidated pretrial proceedings before Judge Saris, essentially combining four (4)

    separate pending multidistrict litigations, 1453, 1454, 1455, and 1456 19. However,

    although that Order vested Judge Saris with the authority to preside over those cases

    for pretrial proceedings, the Panel’s Order did not decide that the Massachusetts

    District Court had subject matter jurisdiction over the pending actions. Rather, “the

    statutory provision that governs multidistrict litigation (28 U.S.C. § 1407) ‘does not

    empower the MDL Panel to decide questions going to the jurisdiction or the merits

    of a case.’” In re New England Mut. Life Ins. Co. Sales Practices Litigation, 324

    F.Supp.2d 288, 292 (D.Mass.,2004) (citing In re Ivy, 901 F.2d 7, 9 (2d Cir.1990)

    (emphasis added).

           Further, as federal law makes clear, Judge Saris’ authority over the pending

    cases that constitute MDL-1456 is limited to oversight over pretrial issues only, at

    the conclusion of which Judge Saris must remand any remaining pending cases back

    to their respective transferor. See, e.g., Lexecon Inc., v. Milberg Weiss Bershad

    Hynes & Lerach et al., 523 U.S. 26 (1998) (holding that an MDL transferee court

    has no authority to invoke §1404(a) to assign a transferred case to itself for trial and

    must remand pending cases at the conclusion of the pretrial proceedings); See also



    19 As mentioned above, at the time MDL 1456 was formed, other cases “involving
    challenges to AWP” were pending in both state and federal courts that were not
    consolidated as part of MDL 1456.

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    In re New England Mut. Life Ins. Co. Sales Practices Litigation, 324 F.Supp.2d at

    292 (holding that an MDL transferee Court has the authority to remand tag-along

    cases directly to state courts). In fact, in the transfer Order itself the JPML

    specifically noted that “[i]t may be, on further refinement of the issues and close

    scrutiny by Judge Patti B. Saris to whom we are assigning this litigation, that some

    claims or actions can be remanded to their transferor districts for trial in advance of

    the other actions in the transferee district.” Id. 1380 -1381. Consistent with that

    instruction, Judge Saris has remanded several cases from MDL-1456 back to their

    transferor courts, many of which are potentially implicated by the subject injunction.

           For example, the pending NJ AWP case which unquestionably “involves

    challenges to AWP” 20, was removed to federal court and was transferred to MDL

    1456, but was remanded by Judge Saris back to state court. Importantly, the

    undersigned Appellant serves as counsel to the putative class in that case and has

    since its inception in 2003, prior to the formation of MDL 1456. Likewise, the

    undersigned Appellant serves as counsel in two (2) other cases “involving

    challenges to AWP” that were removed to federal court, and sought to be transferred

    to MDL 1456, but were later remanded to the Commonwealth Court of Pennsylvania


    20 In re AWP, 431 F.Supp.2d 109 (D.Mass. 2006) (finding that the case “arises out of
    the alleged fraudulent scheme by the pharmaceutical company defendants to inflate
    the prices of drugs by misstating the ‘Average Wholesale Price’ (“AWP”) of their
    drugs in industry publications, but remanding the NJ AWP case back to state court.

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    and the Superior Court of Arizona, Maricopa County, Pennsylvania v. Tap

    Pharmaceutical Products, Inc. and Swanston v. Tap Pharmaceutical Products, Inc.,

    respectively 21.

           There are literally dozens of cases pending in state and federal court

    “involving challenges to AWP” 22 that the Subject Order would serve to bar the

    undersigned Appellant from serving as class counsel, despite any hearing pursuant

    to Rule 23(g) in those cases regarding said appointment 23. However, perhaps no

    case demonstrates the potential improper scope of the Subject Order better than the

    pending New Jersey action. As discussed above, the undersigned Appellant has

    served as counsel to the putative class since the case was filed in 2003. After years

    of litigation, which included an improper, time consuming removal by Defendants



    21 Pennsylvania v. Tap Pharmaceutical Products, Inc., 415 F.Supp.2d 516
    (E.D.Pa.,2005); In re AWP, 307 F.Supp.2d 190 (D.Mass.,2004).

    22 Aside from the several other cases that have already been mentioned and
    discussed in this brief, a simple search of Westlaw reveals, inter alia, the following
    other cases “involving challenges to AWP” that have been reviewed by various
    federal appellate courts : Pirelli Armstrong Tire Corp. Retiree Medical Benefits
    Trust v. Walgreen Co. 2011 WL 183163, (7th Cir., 2011); Pearson's Pharmacy,
    Inc. v. Express Scripts, Inc., 378 Fed.Appx. 934 (11th Cir., 2010); Inola Drug,
    Inc. v. Express Scripts, Inc., No. 06-CV-117, 2009 WL 801838 (N.D.Okla. Mar. 25,
    2009); National Ass'n of Chain Drug Stores v. Schwarzenegger, 376 Fed.Appx.
    674 (9th Cir., 2010). Pirelli, and Inola are class action cases.

    23 Again, it should be noted that the undersigned Appellant was not afforded an
    evidentiary hearing prior to the district court’s June 22, 2010 bar Order.

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    and an issue being decided by the Supreme Court of New Jersey, the case is finally

    poised to proceed. The case does not contain any overlapping parties and/or claims

    as those in MDL 1456. However, as experience has shown, Defendants would

    prefer not to litigate their claims in state court and could attempt to remove the case

    for a second time 24. If Defendants were to successfully remove the case to federal

    court, regardless of whether the case is then transferred to MDL 1456, Judge Saris’

    overbroad injunction would serve to prevent the undersigned Appellant from

    serving as class counsel, despite the fact of the undersigned’s unwavering dedication

    to and representation of the putative class in that case for the past eight (8) years.

    The Subject Order would serve to strip the undersigned Appellant of his right to

    represent his clients, and equally as important, would prevent individual clients from

    exercising their right to choose counsel, a result that should not be countenanced by

    this Court.

                        4.     The District Court Violated the Due Process Rights of
                               Parties Who Never Appeared Before the Court and
                               the Attorney for the Estate of Deceased Clients by
                               Issuing a Sweeping Order Barring Future Litigation
                               Without Notice, a Hearing or Other Reasonable
                               Opportunity to be Heard.

           On June 22, 2010, the district court issued its Order enjoining “plaintiffs


    24 Defendants sought an injunction barring the undersigned Appellant from
    litigating the New Jersey Action and the Arizona Action in their respective state
    courts. See App. 1033 and App. 994, respectively.

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    [from] serv[ing] as class representatives in any proposed class action involving

    AWP” and “Mr. Haviland [from] serv[ing] as class counsel in any federal action

    involving challenges to AWP.” While the Order granted Appellee-Counsel’s

    pending Motion for Sanctions filed April 16, 2010, it did so without holding a

    hearing as was expressly requested by Appellant. In so acting, the court violated

    the due process rights of Appellant, his client, Mr. Young, and the executors of the

    estate of the Shepleys, who have never appeared in the case. Whether court’s Order

    is viewed as a sweeping injunction or a sanction, either way, the affected parties

    were entitled to their day in court, as they requested and as the court indicated, at

    least initially, it was inclined to grant.

           After the Motion for Sanctions was filed, at the request of Appellee-Counsel,

    the district court scheduled a hearing pursuant to Federal Rule 23(e) for May 3,

    2010. APP. 1578; March 31, 2010 Tr. at 8:14-17. On April 28, 2010,

    Appellee-Counsel moved to vacate the hearing. Id. The court then issued an

    electronic order dated April 30, 2010, vacating the May 3, 2010 hearing and

    re-scheduling the hearing for June 21, 2010. Id. While there was no disagreement

    as to the propriety of the requested dismissal of the individual claims of Mr. Young

    and the Shepley’s estate, the only unresolved issue was Appellee-Counsel’s spiteful

    Motion for Sanctions against Appellant. The Motion attached two (2) exhibits

    under seal, that were not timely served on Appellant. Instead, Appellant was forced

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    to seek an extension of time to file a response upon receipt of the complete filing.

    APP. 1578-1580.

           On May 7, 2010, Appellant filed an Opposition to Class Counsel’s Motion for

    Sanctions. APP. 1581-1584. In the Opposition, Appellant denied the factual

    averments in support of the request for sanctions, and requested that the district court

    deny the Motion “based upon the evidence that will be elicited at the evidentiary

    hearing on this matter scheduled for June.” APP. 1583.

           A week before the scheduled June 21, 2010 evidentiary hearing, Appellant

    sought a continuance due to discovery demands and deadlines in the Pennsylvania

    action, where Appellant serves as lead trial counsel. APP. 1610-1614. Directly

    contrary to Appellees’ claim that Appellant was seeking to avoid an evidentiary

    hearing respecting his conduct,25 the Motion for Continuance sought such a hearing

    to make clear the record on these issues:

                 [B]ecause movants’ request for sanctions will necessarily involve the
                 presentation of evidence in support and defense thereof, the
                 undersigned requests that the Motion be continued to a future date
                 beyond the trial in Pennsylvania, which date will allow sufficient time

    25 Appellee-Counsel charge Appellant with seeking “to avoid having to appear
    before the Court in which he has been removed as Class Counsel…”. APP. 1595.
    Quite to the contrary, Appellant repeatedly called for an evidentiary hearing, both at
    the time Appellee’s were seeking to have Appellant disqualified, and when the
    sought the “sanction” that is the subject of the instant appeal. APP. 641; APP. 706
    (referencing “the upcoming hearing on Track II class certification”). In the absence
    of such a hearing, the district court’s presumptive “findings” should be deemed
    erroneous.
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                 for an evidentiary hearing on all issues. As presently scheduled, the
                 hearing set for 4:00 p.m. Monday will not allow the parties to complete
                 their evidentiary proffers that day, necessarily requiring an additional
                 hearing date. At a minimum, based upon the factual averments in the
                 Motion, the undersigned expects to call as witnesses on
                 cross-examination the following material fact witnesses: Steve
                 Berman, Tom Sobol and Jennifer Connolly. If the instant request for
                 continuance is not granted, Notices for the attendance of witnesses will
                 be issued.

    APP. 1612. Appellant is confident that if a fulsome record were to be developed on

    the issue of his conduct in light of clients’ intentions with their litigation, their

    distrust of the Appellee-Counsel, and their directions to Appellant respecting the

    same, no injunction (or sanction) would have been warranted. Without a hearing,

    Appellant was deprived of the opportunity to develop such record for this Court’s

    appellate review.

           Whether characterized as a sanction or an injunction, due process is required.

           The imposition of sanctions requires that a hearing be held on the matter. It

    has long been understood that a court has inherent powers to manage their affairs so

    as to achieve the ordinary and expeditious disposition of cases. Chambers v.

    NASCO, Inc., 501 U.S. 32, 43 (1991). One aspect of that discretion is the court’s

    ability to fashion an appropriate sanctions for conduct that abuses the judicial

    process. Id at 44-45. However, that discretion is not without limitation in that

    when sanctions are contemplated, the sanctioned party must be given an opportunity

    to be heard on the matter. Id at 50 (explaining that a court in imposing sanctions

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    under its inherent powers “must comply with the mandates of due process”.); Media

    Duplication Services, Inc., v HDG Software, Inc., 928 F.2d 1228, 1238 (1st Cir.

    1991); see also In re Cordova Gonzalez, 726 F.2d 16, 20 (1st Cir.1984) (announcing

    that when a court imposes sanctions such as attorney's fees under its inherent power,

    the court must afford the sanctioned party notice and an opportunity for a hearing).

           Similarly, a judge's decision to impose Rule 11 sanctions must comport with

    due process requirements, and the determination of what process is due is, in part, a

    function of the type and severity of the sanction. Media Duplication Services, Ltd.

    v. HDG Software Inc., 928 F.2d 1228, 1238 (1991). The district court cannot

    impose any enforceable sanction, absent compliance with all applicable procedural

    due process requirements. U.S. v. Kouri-Perez, 187 F.3d 1, 13 (1999). See

    Chambers, 501 U.S. at 50; Roadway Express, 447 U.S. at 767; Societe

    Internationale Pour Participations Industrielles et Commerciales v. Rogers, 357

    U.S. 197, 209, (1958); United States v. 789 Cases of Latex Surgeon Gloves, 13 F.3d

    12, 15 (1st Cir.1993). Appellant has been and continues to be counsel in a number

    of AWP litigations. In addition, Appellant’s primary practice area is class action

    litigations. Clearly, the court’s sanction stands to severely injure Appellant’s

    ability to earn a livelihood and is unduly harsh and severe under the circumstances.

           Here, although the parties requested a hearing, including the presentation of

    witnesses and the taking of testimony, the court did not conduct such hearing.

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    Further, in so far as the court ordered sanctions without any hearing on the matter

    whatsoever, contrary to due process, the court similarly did not make any findings of

    why a sanction was ordered or why the sanction that was ordered was an appropriate

    sanctions. See Navarro-Ayala v. Nunez, 968 F.2d 1421, 1427 n.5 (1st Cir.

    1992)(encouraging district courts to make specific findings ‘to held up better

    understand why a particular sanction has been deemed appropriate in respect to a

    particular instance of misconduct”.); see also Specialized Plating, Inc. v. Federal

    Environmental Services, Inc., 121 F.3d 695 (Table); 1997 WL 414102 (July 22,

    1997).

           If the Court’s Order is properly viewed as an injunction, the lack of findings

    or support for the injunction alone warrants that the injunction be vacated as an

    abuse of discretion. Winkler v. Eli Lilly & Co., 101 F.3d 1196, 1204-06 (7th Cir.

    1997); see also Glover v. Johnson, 855 F.2d 277, 284 (6th Cir. 1988) (finding abuse

    of discretion where court failed to make findings of fact); In re Rare Coin Galleries

    of America, Inc., 862 F.2d 896, 902 (1st Cir. 1988) (“[s]peculation or unsubstantiated

    fears off what may happen in the future cannot provide the basis for a preliminary

    injunction.”).

           B.           This Court Has Jurisdiction Over this Appeal, Whether the
                        District Court’s Order Is Viewed as an Injunction or a
                        Sanction.

           The instant appeal concerns a prophylactic Order entered June 21, 2010

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    barring an attorney from ever practicing law in federal court with respect to a broad

    subject matter, all class action “litigation involving challenges to AWP”. As such,

    the Order constitutes an injunction that should be deemed immediately appealable to

    this Court.

           Appellees move to dismiss the appeal from the Order by calling it a

    “sanction”. But, as the below discussion makes clear, this Court looks to the

    substance and effect of a lower court’s order, not the label the court or the parties

    may apply to it. The subject Order does not issue any reprimand or order monetary

    award. To the contrary, a separate Motion for Sanctions filed by Appellees and

    seeking such relief was denied. Instead, the June 21 Order granted a different

    Motion to Withdraw filed by the clients of the undersigned. The District Court

    included as part of that Order the subject proscription against future litigation. For

    this reason, the June 21, 2010 Order should be deemed an injunction immediately

    appealable pursuant to 28 U.S.C. §1292(a)(1).26


           26
             Alternatively, the June 21 Order should be deemed appealable under the
    collateral order doctrine because the prohibition upon the future engagement in any
    class action case in federal court involving “challenges to AWP” is unrelated to the
    merits of the action – the undersigned and his clients have withdrawn from the
    litigation – is “admittedly conclusive on the issues addressed therein”, Motion to
    Dismiss at 8, and, involves an “unsettled question of controlling law” respecting the
    authority of a District Court in an MDL proceeding to issue a prophylactic
    injunction as to a subject matter of litigation arguably broader than the subject matter
    of the MDL over which the Court has jurisdiction pursuant to the JPML transfer
    order. See, e.g, Lexicon Inc. v. Milberg Weiss Bershad Hynes & Lerach et al., 523
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                 1.     The District Court’s Order Barring the Future Practice of
                        Law Constitutes an Injunction Immediately Appealable to
                        this Court.

           This Court has jurisdiction over this appeal pursuant to 28 U.S.C.

    §1292(a)(1), which provides an interlocutory appeal as of right from an order

    granting an injunction. Appellees seek to circumvent the jurisdiction of this Court

    over this appeal by labeling the District Court’s Order a “sanction”, for which this

    Court previously has denied interlocutory review. In appraising whether appellate

    jurisdiction is triggered pursuant to section 1292(a)(1), this Court has long taken a

    functional approach, looking not to the form of a district court's order but to its actual

    effect. Sierra Club v. Marsh, 907 F.2d 210, 213 (1st Cir. 1990); United States v.

    Cities Serv. Co., 410 F.2d 662, 663 n. 1 (1st Cir. 1969); United States v. Platt

    Contracting Co., 324 F.2d 95, 97 (1st Cir. 1963). Indeed, a court must look “to the

    practical effect of the order rather than its verbiage” to determine if it is appealable

    under 28 U.S.C. § 1292(a)(1). Morales Feliciano v. Rullan, 303 F.3d 1, 7 (1st. Cir.

    2002). Thus, this Court has long held that substance, and not the name given in the

    order, controls whether an order amounts to an injunction. Micro Signal Research,

    Inc., v. Otus, 417 F.3d 28, 33 (1st Cir. 2005). In the case of United States v. Alcon

    Laboratories, this Court held that a District Court order directing the FDA to “defer”


    U.S. 26 (1998)(recognizing certain limits of transferee court’s authority under JPML
    Rules).

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    future regulatory action constituted an injunction immediately appealable, despite

    the absence of the word “enjoin” in the order: United States v. Alcon Labs., 636 F.2d

    876, (1st Cir. 1981).

            The District Court’s June 21, 2010 electronic order (granting leave to

    withdraw to the Plaintiffs) was the judicial predicate for its entry of a prophylactic

    injunction in that same Order against the Plaintiffs’ counsel. That Order has the

    effect of forbidding Appellant from representing clients in a class action matter in

    any federal forum where the subject matter involves AWP. The absence of the term

    “enjoin” does not lessen the severity of the decree. It broadly prohibits future

    representation in federal court without any stated reason therefore.

           As discussed herein, the district court’s Order made no findings of fact or

    conclusions of law respecting its decision to enjoin counsel from future litigation

    involving AWP. Indeed, the District Court provided no analysis whatsoever

    respecting its decision to issue the injunction. The District Court’s only arguable

    basis for its injunction exists in its separate Order denying a request for sanctions

    filed by Class Counsel. While that potential “rationale” consists of a passing

    reference to the timing of the Motion to Withdraw as being “troublesome”, it is

    expressly undermined by the subsequent finding that “there is no prejudice to the

    class” as a result of the filing and the leave of Court granted to Class Counsel “to

    find new class representatives.”

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           While a federal court does possess the power under the All Writs Act to issue

    injunctions in certain limited contexts, such power is severely restricted by the

    Anti-Injunction Act, which precludes such injunctions unless (1) Congress has

    expressly authorized such relief by statute, (2) an injunction “is necessary in aid of

    [the court’s] jurisdiction,” or (3) an injunction is necessary “to protect or effectuate

    [the court’s] judgments.” 28 U.S.C. § 2283. In the interests of comity and

    federalism, these three exceptions must be strictly construed. The exceptions to the

    Act “should not be enlarged by loose statutory construction.” Atlantic Coast Line

    R. Co. v. Brotherhood of Locomotive Engineers, 398 U.S. 281, 287 (1970).

           The only exception which arguably applies here is the second exception that

    enjoining the counsel from future representation of a class in federal litigation

    involving AWP is “necessary in aid of [the District Court’s] jurisdiction.”27        This

    exception arose from the settled rule that if an action is in rem, the court first

    obtaining jurisdiction over the res may proceed without interference from actions in

    other courts involving the same res. Toucey v. New York Life Ins. Co., 314 U.S.

    118, 134-36 (1941). The general rule is that an injunction cannot issue to restrain

           27
               The “expressly authorized by an Act of Congress” exception applies only
    when a statute allows for issuance of an injunction. Garcia v. Bauza-Salas, 862
    F.2d 905, 909 (1st Cir. 1988). The “protect or effectuate its judgment” exception,
    also known as the “relitigation” exception, applies only where a preclusive judgment
    as to certain claims or issues has been made. Id. at 910. See also Chick Kam Choo
    v. Exxon Corp., 486 U.S. 140, 147-48 (1988).

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    another in personam action involving the same subject matter at issue before the

    federal court. Kline v. Burke Construc. Co., 260 U.S. 226, 230 (1922). See also

    Hayes Indus., Inc. v. Caribbean Sales Assoc., Inc., 387 F.2d 498, 501 (1st Cir. 1968);

    United States v. Weeks, No. Crim. 99-10371-RGS, 2001 WL 1688891 (D. Mass.

    Dec. 7, 2001).

           Those courts that have found an injunction “in aid of jurisdiction” to be

    appropriate in multi-district litigation proceedings have recognized that the inquiry

    into whether to issue an injunction is fact-specific. See In re Diet Drugs, 282 F.3d

    220, 235 (3d Cir. 2002) (recognizing necessity of an “appropriate set of facts” for an

    injunction to issue). The mere fact of complex litigation does not warrant

    unchecked employment of the exception. Id. at 236 (class actions are not, “by

    virtue of that categorization alone, exempt from the general rule that in personam

    cases must be permitted to proceed in parallel.”). See also Retirement Systems of

    Alabama v. J.P. Morgan Chase & Co., 386 F.3d 419, 427 (2d Cir. 2004) (holding

    that there exists no “blanket rule or presumption that a federal court in any

    multi-district litigation may enjoin parallel state proceedings”).

           The District Court here did not engage in the requisite factual-specific

    inquiry. Indeed, it has never held an evidentiary hearing to address possible

    concerns it may have with interference with its jurisdiction going forward, so as to

    warrant its broad injunction.

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                        2.     The Subject Order is Not a Sanction.

           Appellees mischaracterize the nature of the June 21 Order arguing that it is

    not appealable as a final judgment by citing several cases for the proposition that

    orders imposing sanctions are not immediately appealable. However, the subject

    order is not a judicial sanction. Though Class Counsel sought a sanction against

    Appellant for filing a notice of withdrawal consistent with his clients’ wishes, the

    district court specifically found that “there is no prejudice to the class”. Even were

    the Order to be deemed a “sanction” order, the same would be invalid under the very

    cases cited by Appellees, because the Order was issued without procedural or

    substantive due process.

    VII. CONCLUSION

           For the foregoing reasons, Appellant, Donald E. Haviland, Jr., respectfully

    requests that this Honorable Court reverse the District Court’s June 22, 2010 Order

    barring Appellant from ever “serv(ing) as class counsel in any federal litigation

    involving challenges to AWP” and barring his clients, the executors of the estate of

    Therese Shepley.

    Dated: February 8, 2010                _____/s/__________________
                                           Donald E. Haviland, Jr., Esquire
                                           Michael J. Lorusso, Esquire
                                           Haviland Hughes, LLC
                                           111 S. Independence Mall East, Suite 1000
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                                         Attorneys for Appellant




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                          Certificateof ComplianceWith Rule 32(a)

                       Certificate
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       (s)
      'Attorney
              for Appellant

      Dated:February
                   8. 2011
          Case 1:01-cv-12257-PBS
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                               UNITED STATES COURT OF APPEALS
                                    FOR THE FIRST CIRCUIT

                                               No. 10-1959


     IN RE: PHARMACEUTICAL INDUSTRY AVERAGE                               MDL NO . 1456
            WHOLESALE PRICE LITIGATION                                 C.A. No. 01-12257-PBS



     THIS DOCUMENT RELATES TO:
     ALL ACTIONS


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           I, Donald E. Haviland, Jr., declare under perjury that the following facts are true and

    correct:

           I am a citizen of the United States, over the age of 18 years, and not a party to or

    interested in the above-referenced case. I am a partner of Haviland Hughes, LLC, and my

    business address is 111 S. Independence Mall East, Suite 1000, Philadelphia, PA 19106.

           On February 8, 2011, I caused the Corrected Brief of Appellant Donald E. Haviland, Jr.,

    Esquire to be filed with the Clerk via CM/ECF and all counsel of record were served via

    CM/ECF notification.


                                                          _/s/_____________________________
                                                          Donald E. Haviland, Jr.
          Case 1:01-cv-12257-PBS
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                      UNITED STATES COURT OF APPEALS
                           FOR THE FIRST CIRCUIT

                                      No. 10-1959


                      IN RE: PHARMACEUTICAL INDUSTRY
                    AVERAGE WHOLESALE PRICE LITIGATION


                     ADDENDUM TO BRIEF OF APPELLANT,
                      DONALD E. HAVILAND, JR., ESQUIRE


       Appeal from the June 22, 2010 Order of the District Court Barring Appellant
       From Ever “Serv(ing) as Class Counsel in Any Federal Litigation Involving
                                  Challenges to AWP”


                                         Donald E. Haviland, Jr., Esquire
                                         Michael J. Lorusso, Esquire
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                                                         DOCKET NO .
     June 22, 2010 Order of Judge Patti B.   6/22/2010   N/A           ADDENDUM 1
     Saris
          Case 1:01-cv-12257-PBS
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      From:        ECFnotice@mad.uscourts.gov
      To:          CourtCopy@mad.uscourts.gov
      Subject:     Activity in Case 1:01-cv-12257-PBS Citizens for Consume, et al v. Abbott Laboratories,, et al Order on Motion to
                   Withdraw
      Date:        Tuesday, June 22, 2010 2:02:44 PM




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     Case Number:           1:01-cv-12257-PBS
     Filer:
     Document Number: No document attached

     Docket Text:
     Judge Patti B. Saris: ELECTRONIC ORDER entered granting [7136] Motion to
     Withdraw as Class Representative. "However, plaintiffs may not serve as class
     representatives in any proposed class action involving AWP. In addition, Mr.
     Haviland may not serve as class counsel in any federal litigation involving
     challenges to AWP." (Patch, Christine)


     1:01-cv-12257-PBS Notice has been electronically mailed to:

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                                                                                                             ADDENDUM 1
